      Case 1:16-cv-00945-RDB Document 4 Filed 04/05/16 Page 1 of 1



                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

ANTHONY BLUE, ET AL.,                        *

       Plaintiff,                            *


                                             *    Civil Action No. RDB-16-945

                                             *

WARDEN,
                                             *
       Defendant.
                                             *

                                             *

 *     *       *      *       *    *     *    *    *             *         *   *       *
                              NOTICE OF APPEARANCE

TO THE CLERK:

       Kindly enter my appearance on behalf of Plaintiffs in the above-captioned case,

for the limited purpose of investigating potential claims and preparing and filing

Amended Complaints as well as accompanying Motions to Proceed in Forma Pauperis,

where appropriate, on behalf of each Plaintiff.


                                                  Respectfully submitted,

                                                  __________/s/______________
                                                  Damien D. Dorsey
                                                  (Fed. Bar No. 19194)
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                                                  Counsel for Plaintiffs
